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AO 91 (Rev. 08/09) Criminal Complaint outiore Lictrct ct Taxag

UNITED STATES DISTRICT COURT APR 19 2017

for the
Southern District of Texas Clerk of Cosrt
United States of America )
v 5 “1 - MU
) Case No. M (7 70S
Luis Aguilar Jr. )
YOB: 1982 CITIZENSHIP: United States
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of April 18, 2017 in the county of Hidalgo in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
21U.S.C. § 841 did knowingly and intentionally possess with the intent to distribute
approximately 5.16 kilograms of methamphetamine a Schedule II controlled
substance.
21 U.S.C § 952 did knowingly and intentionally import with the intent to distribute approximately

5.16 kilograms of methamphetamine a Schedule !I controlled substance.

This criminal complaint is based on these facts:

SEE ATTACHMENT "A"

¥ Continued on the attached sheet.

lrineo Garza Jr, U.S. HSI Special Agent

Printed name and title

Swoin t pbb \y $ d Pus Presence.

N Date: one Pca Rone

me Judge 's signature

City and state: McAllen, Texas U.S. Magistrate Judge Dorina Ramos

Printed name and title
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Attachment “A”
On April 18, 2017, Department of Homeland Security (DHS), Homeland Security Investigations
McAllen, Texas Office (HSI McAllen) received information from Customs and Border Protection,
Office of Field Operations (CBP-OFO), that three subjects had been detained at the Hidalgo Port
of Entry attempting to smuggle approximately 5.16 kilograms of methamphetamine into the
United States. The methamphetamine was found hidden within the battery of a vehicle.

in a post Miranda interview of the driver of the vehicle, who had been identified as Luis
AGUILAR Jr, AGUILAR stated he had been asked to drive the vehicle down to Mexico from
Austin, Texas by an associate of his. AGUILAR stated he knew the vehicle was eventually going
to be used to smuggle narcotics into the United States, but initially was told this time was going
to be a “test run” to ensure there would be no problems crossing the vehicle through the Port
of Entry. AGUILAR stated once he arrived in Mexico, he was instructed to take the vehicle to a
specific person. AGUILAR stated he took the vehicle to a male subject who took possession of
the vehicle. AGUILAR stated after approximately 30 minutes the vehicle was returned to him.
AGUILAR stated he suspected that narcotics might have been put into the vehicle, but was not
sure. AGUILAR stated he owed his associate, in Austin, Texas, money and this trip was going to
erase the debt which he owed. AGUILAR stated the two female passengers in the vehicle had
no knowledge of what was occurring and he had brought them down to Mexico under the
understanding it was a short vacation and to shop for wedding supplies.
